9/22/23, 9:04 PM                                    Norred Law, PLLC Mail - RE: 3:22-cv-970-X, Interrogatories to ZT
              Case 3:22-cv-00970-X Document 56-1 Filed 09/22/23                               Page 1 of 6 PageID 1411

                                                                                             Warren Norred <warren@norredlaw.com>



  RE: 3:22-cv-970-X, Interrogatories to ZT
  1 message

  Hung, Richard S. J. <RHung@mofo.com>                                                 Mon, Jun 26, 2023 at 12:01 PM
  To: Warren Norred <wnorred@norredlaw.com>, "Gerrish, Gina L." <GGerrish@mofo.com>, MoFo_VMware_ZT
  <MoFo_VMware_ZT@mofo.com>, "Ranieri, Vera" <VRanieri@mofo.com>
  Cc: Alec Turung <alec@norredlaw.com>, Ty Harding <ty@norredlaw.com>, Marie Anderson <marie@norredlaw.com>


    We are considering next steps in view of your client’s stated inability to satisfy the fee award.



    Rich



    ________________________________________________

    RICHARD S.J. HUNG

    T: (415) 268-7602

    C: (415) 412-1865

    rhung@mofo.com




    From: Warren Norred <wnorred@norredlaw.com>
    Sent: Monday, June 26, 2023 9:56 AM
    To: Hung, Richard S. J. <RHung@mofo.com>; Gerrish, Gina L. <GGerrish@mofo.com>; MoFo_VMware_ZT
    <MoFo_VMware_ZT@mofo.com>; Ranieri, Vera <VRanieri@mofo.com>
    Cc: Alec Turung <alec@norredlaw.com>; Ty Harding <ty@norredlaw.com>; Marie Anderson <marie@norredlaw.com>
    Subject: Re: 3:22-cv-970-X, Interrogatories to ZT



    External Email




    All,
    Where are we on this? ZT is eager to satisfy your client's need for
    information and be done.


https://mail.google.com/mail/u/0/?ik=7714727713&view=pt&search=all&permthid=thread-a:r3742243972873749172%7Cmsg-f:176978541800062106…   1/6
9/22/23, 9:04 PM                                    Norred Law, PLLC Mail - RE: 3:22-cv-970-X, Interrogatories to ZT
              Case 3:22-cv-00970-X Document 56-1 Filed 09/22/23                               Page 2 of 6 PageID 1412
    Let me reiterate - there are no assets available to satisfy any
    judgment, other than the subject patent.


    Thanks,
    Warren
    Warren V. Norred, P.E.
    NORRED LAW, PLLC
    515 East Border Street
    Arlington,Texas 76010
    817.704.3984 office
    817.524.6686 fax

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    sending person by reply e-mail or notify the sender by phone at 817-704-3984.




    On Mon, Jun 5, 2023 at 5:27 PM Warren Norred <wnorred@norredlaw.com> wrote:

       The company has no assets and won't be paying anything.


       W
       Warren V. Norred, P.E.
       NORRED LAW, PLLC
       515 East Border Street
       Arlington,Texas 76010

https://mail.google.com/mail/u/0/?ik=7714727713&view=pt&search=all&permthid=thread-a:r3742243972873749172%7Cmsg-f:176978541800062106…   2/6
9/22/23, 9:04 PM                                    Norred Law, PLLC Mail - RE: 3:22-cv-970-X, Interrogatories to ZT
            Case 3:22-cv-00970-X
       817.704.3984 office       Document 56-1 Filed 09/22/23                                 Page 3 of 6 PageID 1413
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       On Mon, Jun 5, 2023 at 4:25 PM Hung, Richard S. J. <RHung@mofo.com> wrote:

          Hi Warren,



          I relayed, but the client would payment for its fees rather than an asset transfer.



          Rich



          ________________________________________________

          RICHARD S.J. HUNG

          T: (415) 268-7602

          C: (415) 412-1865

          rhung@mofo.com




https://mail.google.com/mail/u/0/?ik=7714727713&view=pt&search=all&permthid=thread-a:r3742243972873749172%7Cmsg-f:176978541800062106…   3/6
9/22/23, 9:04 PM                                    Norred Law, PLLC Mail - RE: 3:22-cv-970-X, Interrogatories to ZT
              Case 3:22-cv-00970-X Document 56-1 Filed 09/22/23                               Page 4 of 6 PageID 1414
          From: Warren Norred <wnorred@norredlaw.com>
          Sent: Monday, June 5, 2023 11:45 AM
          To: Hung, Richard S. J. <RHung@mofo.com>
          Cc: Alec Turung <alec@norredlaw.com>; Gerrish, Gina L. <GGerrish@mofo.com>; MoFo_VMware_ZT
          <MoFo_VMware_ZT@mofo.com>; Ty Harding <ty@norredlaw.com>; Marie Anderson <marie@norredlaw.com>
          Subject: Re: 3:22-cv-970-X, Interrogatories to ZT



          External Email




          Richard, where are we on resolving this?

          Just checking in,
          Warren
          Warren V. Norred, P.E.
          NORRED LAW, PLLC
          515 East Border Street
          Arlington,Texas 76010
          817.704.3984 office
          817.524.6686 fax

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          On Fri, May 5, 2023 at 5:01 PM Hung, Richard S. J. <RHung@mofo.com> wrote:

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9/22/23, 9:04 PM                                    Norred Law, PLLC Mail - RE: 3:22-cv-970-X, Interrogatories to ZT
             Case 3:22-cv-00970-X
             Received                      Document
                      this – thanks, and also            56-1
                                              just got your      FiledI 09/22/23
                                                            voicemail.                 Page 5 of 6 PageID 1415
                                                                        will relay to VMware.



             ________________________________________________

             RICHARD S.J. HUNG

             T: (415) 268-7602

             C: (415) 412-1865

             rhung@mofo.com




             From: Warren Norred <wnorred@norredlaw.com>
             Sent: Friday, May 5, 2023 3:00 PM
             To: Hung, Richard S. J. <RHung@mofo.com>
             Cc: Alec Turung <alec@norredlaw.com>
             Subject: 3:22-cv-970-X, Interrogatories to ZT



             External Email




             Richard, I am assisting ZT on these interrogatories.


             While we're working on these, I'm authorized to settle the
             dispute by assigning the subject patent to your organization. I
             realize that you'll want the details of any assets of ZT, but
             we'll find that it has nothing of value other than the patent, so
             we could work on this in parallel.


             Holler with any questions and we'll be in touch.


             Yours,
             Warren
https://mail.google.com/mail/u/0/?ik=7714727713&view=pt&search=all&permthid=thread-a:r3742243972873749172%7Cmsg-f:176978541800062106…   5/6
9/22/23, 9:04 PM                                    Norred Law, PLLC Mail - RE: 3:22-cv-970-X, Interrogatories to ZT
              Case 3:22-cv-00970-X Document 56-1 Filed 09/22/23                               Page 6 of 6 PageID 1416




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